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                                               Exhibit 1


                                       Rejected Contracts

No.       Non-Debtor          Non-Debtor             Agreement Title/Description    Debtor
          Counterparty Last   Counterparty                                          Counterparty
          Name                First Name
1-100     HUH Residents*      HUH Residents*         Hahnemann resident physician   Center City
                                                     employment agreement           Healthcare, LLC



* The names of the HUH Residents have been redacted to protect the privacy of the residents’
personal information pursuant to the Order Authorizing the Debtors to File Under Seal the
Unredacted Version of the Debtors’ Omnibus Motions for Authority to Reject Hahnemann
Resident Physician Employment Agreements [Docket No. 1273].




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